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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION


IN RE NATIONAL PRESCRIPTION                     MDL No. 2804
OPIATE LITIGATION
                                                Case No. 17-md-2804
This document relates to:
West Boca Medical Center, Inc. v.               Hon. Dan Aaron Polster
AmerisourceBergen Drug Corp., et al., No. 18-
op-45530




MEMORANDUM OF LAW IN SUPPORT OF THE MANUFACTURER DEFENDANTS’
        JOINT MOTION TO DISMISS PLAINTIFF’S COMPLAINT
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           INTRODUCTION AND SUMMARY OF ISSUES AND ARGUMENT1

        West Boca Medical Center, Inc. (the “Hospital” or “Plaintiff”) seeks to hold a handful of

manufacturers liable for the costs of treating patients unable to pay for opioid-related medical

treatment. This is not the first time that a hospital has tried to pursue this type of legal theory. As

described below, numerous courts have rejected similar claims brought by hospitals against

tobacco companies to recover unreimbursed medical expenses. Those claims were dismissed with

prejudice for lack of causation, because the hospitals’ alleged injuries were too far removed from

any alleged fraud by cigarette manufacturers and the hospitals’ claims were merely derivative of

the injuries to consumers who experienced tobacco-related illnesses. The same result should apply

here.

        Not only does the Hospital ignore this well-settled precedent, which forecloses its claims,

but the Complaint also fails for many of the same reasons stated in the Manufacturer Defendants’

Joint Motion to Dismiss the Summit County, Ohio action (Dkt. No. 499-1 (“Summit MTD”)), and

the Broward County, Florida action (Dkt. No. 593-1 (“Broward MTD”)). Indeed, the Complaint

replicates many of the defective allegations in those cases verbatim. It too fails to plead a

cognizable injury, actual or proximate causation, or any actionable misrepresentations, omissions,

or other alleged misconduct tied to the Hospital’s alleged harms, and it too suffers from many

additional claim-specific defects. The Complaint should be dismissed with prejudice.2


1
         Pursuant to Case Management Order One (Dkt. No. 232) ¶ 2.g, the Manufacturer
Defendants raise only certain key “issues common to all manufacturers” that warrant dismissal of
the Hospital’s claims. Manufacturer Defendants do not raise, and expressly reserve the right to
later raise, additional grounds for dismissal of all claims, including Defendant-specific challenges.
2
       This motion incorporates the definition of “Manufacturer Defendants” set forth in the
Summit MTD at 1 n.2. Defendant Noramco, Inc. (“Noramco”), a company referenced in the
Complaint as a former affiliate of Janssen (see Compl. ¶ 98), joins in this Motion to the extent
applicable. Noramco does not (and did not at all material times relevant hereto) manufacture,
package, brand, market, distribute, or sell the finished drug products at issue in this litigation, and
                                                  1
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                                       LEGAL STANDARD

         The Hospital’s claims must meet the plausibility standard of Bell Atl. Corp. v. Twombly,

550 U.S. 544 (2007), and, because they sound in fraud, the particularity standard of Rule 9(b).

Summit MTD at 5-6. The Complaint satisfies neither.

                                           ARGUMENT

I.       COURTS HAVE REJECTED SIMILAR CLAIMS BROUGHT BY HOSPITALS
         SEEKING TO RECOVER UNREIMBURSED MEDICAL EXPENSES BASED
         UPON ALLEGED INDUSTRY-WIDE FRAUD.

         This is not the first time that a hospital has tried to bring fraud-based claims against

manufacturers in an effort to recover unreimbursed medical expenses allegedly related to their

products. In Allegheny Gen. Hosp. v. Philip Morris, Inc., 228 F.3d 429 (3d Cir. 2000), for instance,

several hospitals brought claims against tobacco manufacturers “seeking to recover unreimbursed

costs of health care provided to nonpaying patients suffering from tobacco-related disease.” Id. at

432. The hospitals alleged that the manufacturers engaged in a “conspiracy lasting more than 40

years” that “deceived and misled the public about the addictive properties of nicotine and the health

risks of smoking.” Id. at 433. As here, the hospitals also asserted RICO claims and common-law

claims for, among other things, fraud, public nuisance, unjust enrichment, civil conspiracy, breach

of duty, and negligence. Id. at 434.

         The Third Circuit affirmed the dismissal of all claims. It held that the hospitals could not

establish proximate causation as a matter of law because their alleged injuries were too “remote

and indirect.” Id. at 444. The hospitals’ claims, for example, required inquiry into whether any

“increased costs . . . resulted from the tobacco companies’ conspiracy to suppress health and safety



it reserves all rights and defenses specific to it. In addition, although the arguments raised herein
apply equally to Teva Pharmaceutical Industries Ltd., Allergan plc, and Mallinckrodt plc, these
parties do not join this Motion for the same reasons stated in the Summit MTD at 1 n.2.
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information, as opposed to smokers’ other health problems, smokers’ independent (i.e., separate

from the fraud and conspiracy) decisions to smoke, smokers’ ignoring of health and safety

warnings, etc.” Id. The hospitals’ public nuisance claim failed because the hospitals “did not

sufficiently allege that they suffered a harm different from and of greater magnitude than the harm

suffered by the general public,” given that the “Hospital’s injuries are derivative of the nonpaying

patients’ injuries.” Id. at 446. The Third Circuit further held that there was no “justice-based”

exception to these causation requirements; to the contrary, the Court explained that permitting

these types of claims would set a “dangerous” and flawed precedent that hospitals “have standing

to sue any company that causes a nonpaying patient’s disease illness.” Id. at 445.

       The Sixth Circuit and Ninth Circuit have followed the Third Circuit’s Allegheny General

Hospital decision in rejecting similar claims by hospitals and payors.         See, e.g., Ass’n of

Washington Pub. Hosp. Dists. v. Philip Morris Inc., 241 F.3d 696, 704 (9th Cir. 2001) (applying

Allegheny Gen. Hosp. to dismiss similar claims brought by association of hospitals against tobacco

companies); Perry v. Am. Tobacco Co., 324 F.3d 845, 849 (6th Cir. 2003) (citing Allegheny Gen.

Hosp. with approval and relying upon that decision to dismiss claims brought by payor participant

against the tobacco industry). The same logic compels dismissal here.

       In fact, the Hospital’s claims here are even more attenuated than the claims against tobacco

manufacturers because, unlike cigarettes, the FDA-approved opioid medications at issue here serve

a legitimate medical purpose and are lawfully obtained only from licensed prescribers who

function as learned intermediaries. See Felix v. Hoffman-LaRoche, Inc, 540 So. 2d 102 (Fla. 1989).

The independent decision-making of prescribing physicians is yet another break in the causal

chain. Like the Third, Sixth, and Ninth circuits, this Court should reject the Hospital’s suggestion

that there is a “justice-based” exception to the bedrock principles of proximate causation. Because



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the Hospital’s alleged “injury is indirect, remote, and many steps away from the alleged cause,”

Allegheny Gen. Hosp., 228 F.3d at 445, this case should be dismissed with prejudice.

II.    THE “FALSE NARRATIVE ENTERPRISE” RICO CLAIM FAILS (COUNT 1).

       The first count raises a claim under the federal Racketeer-Influenced and Corrupt

Organizations Act (RICO), 18 U.S.C. §§ 1961 et seq. Plaintiff’s RICO allegations echo—nearly

verbatim—those in previous complaints. Compare Compl. (Dkt. No. 385) ¶¶ 812-74 with, e.g.,

Summit Corrected 2AC (Dkt. No. 573) ¶¶ 814-77 and Broward 2AC (Dkt. No. 525) ¶¶ 741-804.

The RICO count thus fails for all of the reasons set forth in the Manufacturer Defendants’ Summit

MTD and Broward MTD—that is, there is no cognizable RICO injury, no actual or proximate

causation, no plausible enterprise, and no actionable racketeering activity. See Summit MTD §§

II, III; Broward MTD §§ II., III.

       In fact, the Hospital’s alleged injuries are even more attenuated than the municipalities’

alleged injuries in Summit and Broward. See Summit MTD §§ II.B.2, II.B.3; Broward MTD § II..

In Summit and Broward, both municipal plaintiffs claimed injuries stemming from public services

provided in response to county residents using, abusing, or becoming addicted to opioids. Here,

the Hospital claims an injury due to “unreimbursed charges for its treatment of patients with opioid

conditions.” Compl. ¶ 55; see id. ¶¶ 56-58. In each case, the alleged injuries are entirely derivative

of those suffered by third parties, here, the “patients with opioid conditions” who seek treatment

from the Hospital—and who may have developed those “conditions” for any number of reasons

wholly unrelated to the Manufacturer Defendants’ purported conduct. See Anza v. Ideal Steel

Supply Corp., 547 U.S. 451, 460 (2006) (rejecting RICO claim because “[t]he direct victim” was

not the plaintiff who alleged competitive harm due to alleged tax fraud by competitor); cf. Jackson

v. Sedgwick Claims Mgmt. Servs., Inc., 731 F.3d 556, 565 (6th Cir. 2013) (holding that economic

losses derived from personal injury are not recoverable under § 1964(c)).
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       But the alleged injuries here are even further removed from the Manufacturer Defendants

because the proposed causal chain assumes other steps not at issue in Summit or Broward, such as:

(a) opioid users seeking care at the Hospital; (b) opioid users being unable to pay for that treatment

(either out-of-pocket or through insurance); and (c) the Hospital’s inability to recoup the treatment

costs through other means. All of these intervening and independent causes make the RICO claim

here even more untenable. See Anza, 547 U.S. at 460; Allegheny Gen. Hosp., 228 F.3d at 443-44.

In addition, unlike in Summit and Broward, the Hospital was legally obligated to provide at least

some of the services at issue: federal law and state law require the Hospital to provide emergency

medical services to all who demand them, regardless of cause. See Compl. ¶¶ 6, 41 (citing 42

U.S.C. §1395dd), ¶¶ 42-43 (citing Fla. Stat. § 395.1041), ¶ 44 (citing Fla. Stat. § 394.459). Thus,

applicable federal and state law defeats causation because any alleged harm to the Hospital stems

from these legislative public-policy decisions.

       Finally, as in Summit and Broward, the Hospital has not pleaded any predicate act with the

requisite particularity. See Summit MTD § II.B.4.; Broward MTD § II. The Hospital alleges

predicate acts of federal mail and wire fraud under 18 U.S.C. §§1341 and 1343, respectively, and

reporting violations under the Controlled Substances Act (“CSA”), 21 U.S.C. §§ 801 et seq. See

Compl. ¶ 881. But reporting-based CSA violations cannot constitute predicate acts under RICO.

See Summit MTD III.B.4. & n.31. And, as in Summit and Broward, the Hospital fails to plead a

single misrepresentation or omission made to anyone at the Hospital or to any doctor that

supposedly caused that doctor to write a medically inappropriate prescription for any patient who

was eventually treated at the Hospital. The Hospital certainly fails to provide the critical details—

i.e., the “who, what, when, and where”—of any such fraud required under Rule 9(b).




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       This failure is even more glaring here because the Hospital operates a healthcare facility

that, according to the Complaint, “purchased opiates from the Defendants, and used them.”

Compl. ¶ 63. Surely the Hospital knows which opiate medications it purchased, when they were

purchased, whether its physician-employees were exposed to or relied on any alleged

misrepresentations before deciding what medicine to prescribe, and whether any prescription was

medically unnecessary or harmful to the patient. Yet the Complaint has no such allegations. The

Hospital’s silence defeats its RICO and other claims.

III.   THE HOSPITAL’S SECTION 1962(A) AND SECTION 1962(D) RICO CLAIMS
       FAIL (COUNT 2).

       Like its Section 1962(c) claim, the Hospital’s federal RICO claims under Sections 1962(a)

and 1962(d) should be dismissed for failure to plead any actionable racketeering activity, an

enterprise, or causation. See 18 U.S.C. § 1962(a) (requiring these elements); Huff v. FirstEnergy

Corp., 972 F. Supp. 2d 1018, 1039 (N.D. Ohio 2013) (to state a claim under Section 1962(d),

plaintiffs “must successfully allege all the elements of a RICO violation” and an “illicit agreement

to violate the substantive RICO provisions.”). The Hospital also fails to plead the additional

elements required to state these federal RICO because it does not (and cannot) allege a cognizable

investment injury under Section 1962(a) or an unlawful conspiracy under Section 1962(d).

       A.      The Hospital Has Not Alleged An “Investment Injury” Under Section 1962(a).

       Section 1962(a) prohibits the use or investment of “any income derived . . . from a pattern

of racketeering activity” in the acquisition, establishment, or operation of any enterprise that

affects interstate commerce. 18 U.S.C. § 1962(a). To state a claim under Section 1962(a), the

Hospital must allege it suffered an injury caused by the investment itself that is “distinct from any

injuries caused by the predicate acts of racketeering.” Vemco, Inc. v. Camardella, 23 F.3d 129,

132 (6th Cir. 1994) (emphasis in original). In other words, it is not enough to allege the


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Manufacturer Defendants used racketeering income to operate a purported enterprise, and that the

enterprise harmed the Hospital. Id. at 133. Rather, the Hospital must allege separate and distinct

“injuries stemming directly from the defendants’ alleged use or investment of their illegally

obtained income.” Craighead v. E.F. Hutton & Co., 899 F.2d 485, 494 (6th Cir. 1990).

       Here, the Hospital does not (and cannot) identify any injuries stemming directly from

investments purportedly made by the Manufacturer Defendants that are “distinct from injuries

stemming from predicate acts.” Vemco, Inc., 23 F.3d at 133. Indeed, the Hospital expressly alleges

only that it was “injured . . . through the above-referenced acts of racketeering,” Compl. ¶ 894,

and not through any specific investment itself. Under controlling Sixth Circuit precedent, this

pleading deficiency alone defeats Plaintiff’s Section 1962(a) claim. See Craighead, 899 F.2d at

494 (dismissing Section 1962(a) claim because it requires “a separate and traceable injury and

plaintiffs have alleged only injuries traceable to the alleged predicate acts.”); Gotham Print, Inc.

v. Am. Speedy Printing Ctrs., Inc., 863 F. Supp. 447, 461 (E.D. Mich. 1994) (same where “[t]he

real source of Plaintiffs’ purported injury is that Defendants supposedly made certain

misrepresentations and failed to disclose certain facts—not that they were injured by Defendants

[sic] investment of money generated by those actions . . .”).

       B.      The Hospital Has Not Alleged A RICO Conspiracy Under Section 1962(d).

       The Court also should dismiss Plaintiff’s RICO conspiracy claim under Section 1962(d) as

derivative of Plaintiff’s failed RICO claims under Sections 1962(a) and (c). See Craighead, 899

F.2d at 495 (“Plaintiffs’ [RICO] conspiracy claim cannot stand in light of the dismissal of their

other RICO counts.”).

        Moreover, the conspiracy claim fails on its own terms because the Hospital has not alleged

any conspiratorial agreement among the Manufacturer Defendants to violate RICO. See, e.g., id.;

Huff, 972 F. Supp. 2d at 1039. Here, the Hospital makes only conclusory and unsupported
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allegations that the Manufacturer Defendants “agreed, with knowledge and intent, to the overall

objective of [their] fraudulent scheme.” Compl. ¶ 844(d). But the Hospital does not plead any

specific facts to plausibly show any type of agreement between any of the Manufacturer

Defendants—many of whom are direct competitors. Like in Summit and Broward, such a

conclusory allegation fails to state a plausible conspiracy claim, let alone meet the particularity

requirements of Rule 9(b) applicable to Plaintiff’s RICO claims. Huff, 972 F. Supp. 2d at 1040

(requiring plaintiff to specify “when, where, or between whom any alleged illicit agreement was

made.”); see also Summit MTD § XIII.; Broward MTD, at § IX.

IV.    THE HOSPITAL’S STATE LAW CLAIMS ARE PREEMPTED BY FEDERAL
       LAW (COUNTS 3-12).

       As in Summit and Broward, federal law preempts the Hospital’s state law claims. The

Hospital alleges the Manufacturer Defendants falsely represented opioids as safe and effective for

the long-term treatment of chronic, non-cancer pain, even though FDA has approved most of the

medications at issue here for exactly that purpose. See, e.g., Compl. ¶¶ 15-16, 68-69, 72-73, 76,

131, 148, 155, 158-59, 161-63, 176. Moreover, “[t]he restrictions and guidelines placed upon

pharmaceutical companies for off-label promotion are entirely dependent upon the statutory and

regulatory scheme created by the FDCA,” which “does not provide a private right of action” to

enforce its provisions. Perdue v. Wyeth Pharm., Inc., 209 F. Supp. 3d 847, 851-52 (E.D.N.C.

2016), appeal dismissed sub nom. Perdue v. Teva Pharm. USA, Inc., 2018 WL 994177 (4th Cir.

Feb. 8, 2018). Therefore, because the Hospital’s claims conflict with FDA’s expert regulatory

decisions regarding the approval and labeling of the Manufacturer Defendants’ medications, and

thus they are preempted by federal law. See Summit MTD § IV.




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V.     THE FLORIDA DECEPTIVE AND UNFAIR TRADE PRACTICES ACT CLAIM
       FAILS (COUNT 3).

       The Hospital’s Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”) claim fails

for the same reasons as the FDUTPA claim in Broward. See Broward MTD § VII. First, the

FDUTPA safe-harbor provision applies because the FDA has approved most of the ER/LA opioid

medications at issue here for the treatment of chronic pain and Florida law authorizes such use of

opioids. Id. at § VII.A. (citing Fla. Stat. § 501.212(1) and Fla. Stat. § 456.44(2), (3)). Therefore,

under the FDUTPA safe-harbor provision, the Hospital’s FDUTPA claim based on advertising and

promotion of these products fails as a matter of law. Broward MTD. at § VII.A.; see also Prohias

v. Pfizer, Inc., 490 F. Supp. 2d 1228, 1234 (S.D. Fla. 2007) (applying safe-harbor where alleged

advertisements “largely comport with[] the [FDA] approved label.”).

       Second, for the same reasons set forth in Broward, the Hospital fails to allege that it is a

“consumer” authorized to bring a FDUTPA action. Broward MTD § VII.B. Although the Hospital

seeks to recover the costs of providing unreimbursed services to patients addicted to opioids and

the “operational costs” associated with such treatment, Compl. ¶¶ 55-58, the Hospital is not a

“consumer” of any medicine sold by the Manufacturer Defendants. In addition, the Hospital

pleads only conclusory allegations that it purchased opioids, id. ¶ 63, it does not identify a single

prescription for which it purportedly paid, much less one written because of any Manufacturer

Defendant’s allegedly false or misleading statement. Nor would the Hospital’s purchase of any

such medicine in order to profit from that purchase render the Hospital a “consumer”; like a third-

party payor, in this capacity, the Hospital acts only as an economic middleman—paying for




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prescriptions used by actual consumers.3 Accordingly, the Hospital cannot bring a claim under

FDUTPA. Broward MTD § VII.B.

         Third, the Hospital has not alleged any of the elements of a FDUTPA claim. As in Broward

and described above, the Hospital does not plead the existence of an actionable misrepresentation

or omission, or a causal link between any such statement and any unreimbursed medical service

allegedly rendered. See Broward MTD § VII.C.; Molina v. Aurora Loan Servs., LLC, 635 F.

App’x 618, 627 (11th Cir. 2015) (affirming dismissal of FDUTPA claim for lack of causation).

Moreover, the Hospital’s alleged damages, such as increased costs of providing healthcare to

patients addicted to opioids, Compl. ¶ 55, are incidental or “consequential damages . . . not

recoverable under FDUTPA.” Marketran, LLC v. Brooklyn Water Enters., Inc., 2017 WL

1292983, at *4 (S.D. Fla. Jan. 31, 2017); see also Hesterly v. Royal Caribbean Cruises, Ltd., 2008

WL 11406184, at *7 (S.D. Fla. Aug. 6, 2008) (striking prayer for FDUTPA “damages associated

with personal injury, pain and suffering, mental anguish, disability, past and future medical

expenses, and other consequential damages”). The Hospital’s FDUTPA claim must be dismissed.

VI.      THE MISLEADING ADVERTISING CLAIM FAILS (COUNT 4).

         To recover under Florida’s misleading advertising statute, Fla. Stat. § 817.41, the Hospital

must establish common law fraud in the inducement, including (1) an intentional misrepresentation

and (2) reasonable and justifiable reliance. Joseph v. Liberty Nat. Bank, 873 So. 2d 384, 388 (Fla.

Dist. Ct. App. 2004). Taken together, these elements require the Hospital to establish a “causal

connection between the allegedly false advertisement and the injuries sustained.” Martino v. City


3
        Courts have dismissed claims brought by third-party payors against pharmaceutical
manufacturers under consumer protection statutes that similarly impose a “consumer” requirement
on the ground that a third-party payor is not a “consumer” of prescription medicines. See, e.g.,
Cent. Reg’l Emps. Ben. Fund v. Cephalon, Inc., 2009 WL 3245485, at *3 (D.N.J. Oct. 7, 2009);
In re Rezulin Prod. Liab. Litig., 392 F. Supp. 2d 597, 616-17 (S.D.N.Y. 2005).

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Furniture, Inc., 2006 WL 8431423, at *4 (S.D. Fla. June 29, 2006); see also Humana, Inc. v.

Castillo, 728 So. 2d 261, 265 (Fla. Dist. Ct. App. 1999); Himes v. Brown & Co. Sec. Corp., 518

So. 2d 937, 938 (Fla. Dist. Ct. App. 1987). The Hospital fails to pleads facts that satisfy these

elements.

         First, as discussed above, the Hospital has failed to allege (1) any false or misleading

statement by the Manufacture Defendants, much less with the specificity required by Rule 9(b), or

(2) actual or proximate causation. Allegheny Gen. Hosp., 228 F.3d at 444-46.

         Second, the Hospital fails to allege that it was exposed to, and relied on, any alleged

misrepresentations by the Manufacturing Defendants. See Fla. Stat. § 817.41; Smith v. Mellon

Bank, 957 F.2d 856, 858 (11th Cir. 1992); Vance v. Indian Hammock Hunt & Riding Club, Ltd.,

403 So. 2d 1367, 1370 (Fla. Dist. Ct. App. 1981). Instead, the Hospital provides only conclusory

allegations that various unspecified physicians heard and relied on the Manufacturing Defendants’

various unspecified misrepresentations. See, e.g., Compl. ¶¶ 161, 214, 237. Because the Hospital

does not identify any statements that it received and relied upon, id. ¶¶ 438-39, the Hospital fails

to state a viable claim. See Samuels v. King Motor Co. of Fort Lauderdale, 782 So. 2d 489, 496

(Fla. Dist. Ct. App. 2001); see also Smith, 957 F.2d at, 858; Se. Laborers Health & Welfare Fund

v. Bayer Corp., 655 F. Supp. 2d 1270, 1289 (S.D. Fla. 2009).

VII.     THE BREACH OF IMPLIED WARRANTY CLAIM FAILS (COUNT 5).

         The Hospital alleges that the Manufacturer Defendants breached an implied warranty of

fitness for a particular purpose, Fla. Stat. § 672.315, by selling prescription opioids that were “not

suitable” for the purpose of “provid[ing] pain relief.” Compl. ¶¶ 922-28.4 Plaintiff’s implied


4
        The Hospital also styles Count 5 as a cause of action under Fla. Stat. § “672.11, et seq.”
Compl. at 923. No such statute(s) exists. Because Count 5 refers only to a “Breach of Implied
Warranty of Fitness For a Particular Purpose,” id., the Manufacturer Defendants construe Count 5
as alleging violation of only Fla. Stat. § 672.315.
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warranty claim is procedurally and substantively defective.

         First, the Hospital failed to provide the requisite notice of breach to the Manufacturer

Defendants. See Armadillo Distrib. Enters. v. Hai Yun Musical Instruments Manufacture Co.,

Ltd., 142 F. Supp. 3d 1245, 1254 (M.D. Fla. 2015) (“[T]he buyer must provide notice to the seller

of the breach of warranty.”); Fla. Stat. § 672.607(3)(a) (“The buyer must within a reasonable time

after he or she discovers or should have discovered any breach notify the seller of breach or be

barred from any remedy.”). Under Florida law, “[t]he buyer bears the burden of showing that he

gave the required notice within a reasonable time,” and “[t]he notice must be both timely and

sufficient under the circumstances and is governed by the buyer’s obligation to act in good faith.”

Royal Typewriter Co., a Div. of Litton Bus. Sys. v. Xerographic Supplies Corp., 719 F.2d 1092,

1102 (11th Cir. 1983). Plaintiff nowhere alleges that it provided any such notice to any

Manufacturer Defendant. See Compl. ¶¶ 922-28. This failure alone requires dismissal. See Fla.

Stat. § 672.607(3)(a).

         Second, in Florida, “to recover for the breach of a warranty . . . the plaintiff must be in

privity of contract with the defendant.” T.W.M. v. Am. Med. Sys., Inc., 886 F. Supp. 842, 844

(N.D. Fla. 1995). Privity exists only when the plaintiff “purchase[d] a product . . . directly from

the defendant.”     Id.   The Hospital does not allege it purchased opioids directly from the

Manufacturer Defendants. Nor could it. As the Complaint acknowledges, the Manufacturer

Defendants sell directly to wholesale distributors rather than to hospitals or medical centers. See,

e.g., Compl. ¶ 730 (alleging that Mallinckrodt’s “direct customers” are “distributors”).5 The




5
       To the extent that the Hospital’s allegations could be construed as alleging the existence of
a direct transaction with any of the Manufacturer Defendants, these allegations should be
disregarded as vague and conclusory. See, e.g., Compl. ¶¶ 52 (alleging that the Hospital “has
purchased and continues to purchase” unspecified “opioids” that were “marketed and sold by”
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Hospital’s failure to allege privity is “dispositive [and the] claim of breach of implied warranty

fails as a matter of law.” Bailey v. Monaco Coach Corp., 168 F. App’x 893, 894-95 (11th Cir.

2006) (per curiam).

       Third, the Hospital must show that it purchased opioids for a “particular purpose” apart

from the ordinary purpose of pain relief. See Armadillo, 142 F. Supp. 3d at 1255 (requiring

plaintiff to show that “a seller has reason to know a particular purpose for which the goods are

required”). A particular purpose “‘envisages a specific use by the buyer which is peculiar to the

nature of his business.’” Id. (quoting Royal Typewriter Co., 719 F.2d at 1100). Here, however, as

alleged by Plaintiff, the “ordinary” use of prescription opioids is “to provide pain relief in an

appropriate way that [does] not unnecessarily endanger [the hospital’s] patients.” Compl. ¶ 924.

Moreover, the Hospital does not allege facts to show that it purchased opioids for any “particular

purpose” that is “peculiar to” a hospital, or that it communicated a particular purpose to any

Manufacturer Defendant.     This defeats the Hospital’s implied warranty claim.        See Royal

Typewriter Co., 719 F.2d at 1100 (rejecting implied warranty claim involving copier machines

when “the contemplated use of the machines was as copiers—the ordinary purpose for which [the

machine] was sold”).

       Fourth, the Hospital does not plead facts showing that any breach caused its alleged

injuries. See Dunham-Bush, Inc. v. Thermo-Air Serv., Inc., 351 So. 2d 351, 353 (Fla. Dist. Ct.

App. 1977) (requiring a showing of “injuries sustained by the buyer as a result of the breach of

warranty.”). The Hospital’s conclusory assertion that it “has been damaged” in unspecified

amounts by the Manufacturer Defendants’ purported breach, Compl. ¶ 928, is insufficient to make




unspecified “Defendants”), id. ¶ 923 (alleging that the Hospital purchased unspecified “opioid
products” from unspecified “Defendants”).
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this showing. See Ashcroft v. Iqbal, 556 U.S. 662, 677-79 (2009); Dunham-Bush, 351 So. 2d at

353. Indeed, despite its conclusory allegations, Compl. ¶¶ 923-24, the Hospital fails to identify

any facts alleging that it did not get exactly what it bargained for: a prescription pain medicine

with the properties, benefits, and risks identified in the FDA-approved label for that medicine.

This, too, defeats the Hospital’s breach of warranty claim.

VIII. THE HOSPITAL’S NEGLIGENCE CLAIMS FAIL (COUNTS 6-10).

       The Hospital asserts five types of negligence claims: Negligence (Count VI), Wanton

Negligence (Count VII), Negligence Per Se (Count VIII), Negligent Marketing (Count IX), and

Negligent Distribution (Count X). All fail because, as explained in Summit and Broward County:

(1) the Complaint fails to plead any actionable conduct; (2) it fails to plead actual and proximate

causation; and (3) the claims are preempted. See Summit MTD §§ IX., X.; Broward MTD §§ V.,

VI.. They also fail for two additional reasons.

       First, as an initial matter, Counts IX and X are not cognizable under Florida law. Indeed,

courts have expressly held that “no Florida law exists supporting [a] claim for negligent

marketing.” Cubbage v. Novartis Pharm. Corp., 2016 WL 3595747 at *9 (M.D. Fla. July 5, 2016)

(dismissing claim on this ground). And the Manufacturer Defendants are unaware of any Florida

authorities recognizing a claim for “negligent distribution” against a pharmaceutical manufacturer.

       Second, as in Broward, the Hospital does not and cannot plead the threshold element of a

negligence claim: that the Manufacturer Defendants owed a duty of care to Plaintiff. Wallace v.

Dean, 3 So. 3d 1035, 1044 (Fla. 2009). Although the Complaint makes a generalized reference to

the Manufacturer Defendants’ duties with respect to the marketing and distribution of opioids, see,

e.g., Compl. ¶¶ 519-521, 971, 984, none of these vague allegations identifies any cognizable

common law or statutory duty owed by the Manufacturer Defendants to the Hospital. Nor does

the Hospital allege any special relationship with the Manufacturer Defendants. See Estate of
                                                  14
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Johnson ex rel. Johnson v. Badger Acquisition Of Tampa LLC, 983 So. 2d 1175, 1182 (Fla. Dist.

Ct. App. 2008). And although a statute may create a duty of care for negligence, that is true only

where the statute includes a private right of action. Owens-Benniefield v. Nationstar Mortg. LLC,

258 F. Supp. 3d 1300, 1316 (M.D. Fla. 2017). Here, none of the cited statutes establish a private

right of action. Indeed, Florida law bars recovery in negligence premised on purported federal

FDCA, state FDCA, or CSA violations. See, e.g., Markland v. Insys Therapeutics, Inc., 270 F.

Supp. 3d 1318, 1331 (M.D. Fla. 2017); Barrow v. Bristol-Myers Squibb, 1998 WL 812318, at *46

(M.D. Fla. Oct. 29, 1998), aff’d sub nom 190 F.3d 541 (11th Cir. 1999); Labzda v. Purdue Pharma,

L.P., 292 F. Supp. 2d 1346, 1355 (S.D. Fla. 2003). The Hospital cannot use common law theories

to circumvent clear legislative intent not to create a private cause of action in these statutes. See

Buell v. Direct Gen. Ins. Agency, Inc., 267 F. App’x 907, 909 (11th Cir. 2008) (applying rule).

IX.      THE HOSPITAL’S PUBLIC NUISANCE CLAIM FAILS (COUNT 11). 6

         The Hospital’s public nuisance claim fails as a matter of law for the same reason stated in

Broward: (1) Florida does not impose nuisance liability for the distribution and sale of lawful

products, even those alleged to be defective; and (2) even if it did, the Hospital’s injuries were not

proximately caused by the Manufacturer Defendants’ alleged conduct. Broward MTD § IV.

         A.     The Hospital’s Nuisance Claims are Barred Under Florida’s Safe Harbor.

         Under Florida’s safe harbor doctrine, “[p]ublic nuisance [liability] does not apply to the

design, manufacture, and distribution of a lawful product.” Penelas v. Arms Tech., Inc., 1999 WL

1204353, at *4 (Fla. Cir. Ct. Dec. 13, 1999), aff’d, 778 So. 2d 1042 (Fla. Dist. Ct. App. 2001).

Here, both federal and state law authorize and regulate the manufacture, marketing, labeling, sale,


6
       The Hospital styles this claim simply as one for “nuisance,” but states that “[t]he nuisance
undermines public health, quality of life, and safety” (Compl. ¶ 997) and that it “[h]as harmed and
will continue to harm the public health services of and public peace of Plaintiff” (id. ¶ 996(a)).
Thus, Manufacturer Defendants construe this claim as one for public nuisance.
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and use of the Manufacturer Defendants’ opioid medications, including for the treatment of

chronic pain, see, e.g., Summit MTD § VII.C.; Broward MTD §IV.B., and the Hospital has

otherwise failed to allege any unlawful conduct by any Manufacturer Defendant. Florida’s safe

harbor thus bars the Hospital’s public nuisance claim.

         B.     The Hospital Cannot Plead Causation.

         The Hospital’s public nuisance claim also fails because there is no causal connection

between the Manufacturer Defendants’ alleged actions and the Hospital’s alleged harm. As

explained in Summit and Broward, the chain of causation breaks when a link involves criminal

acts of independent third parties. See, e.g., Summit MTD § VII.; Broward MTD § IV. The same

applies here. Although the Hospital alleges that “[t]he nuisance is the over-saturation of opioids

in the patient population of Plaintiff and in the geographic area served by Plaintiff for illegitimate

purposes, as well as the adverse social, economic, and human health outcomes associated with

widespread illegal opioid use,” Compl. ¶ 991, it also concedes that its injuries resulted from

“widespread illegal opioid use,” id. ¶ 991, the use of prescription opioids by “criminals,” id. ¶ 993,

and “theft, diversion and misuse of controlled substances,” id. ¶ 994. This concession is fatal to

the Hospital’s attempt to establish proximate causation. See Penelas, 1999 WL 12043453 at *4

(“Here, the nuisance is criminal or reckless misuse of [a product] by third parties who are beyond

the control of the defendants. Because defendants have no ability to control the misconduct of

these third parties, nuisance does not apply for that reason as well.”). The Hospital’s nuisance

claim should be dismissed.7


7
        In addition, as in Allegheny Gen. Hosp., the Hospital’s alleged harm is the same as the
alleged harm to the general public, for its “injuries are derivative of the nonpaying patients'
injuries” and it is “one of numerous parties in the public harmed by the alleged conspiracy.” 228
F.3d at 446. Thus, “remedying the source of the [problem] is more properly a task for public
officials.” Id. The public nuisance claim fails for this reason, too.

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X.       THE UNJUST ENRICHMENT CLAIM FAILS (COUNT 12).

         The Hospital’s unjust enrichment claim is derivative of its other claims and thus falls with

them. Baptista v. JPMorgan Chase Bank, N.A., 640 F.3d 1194, 1197 (11th Cir. 2011).

         The unjust enrichment claim also fails on its own terms. As explained in Broward, a

plaintiff pleading unjust enrichment must allege that the plaintiff conferred a benefit on the

defendant. Broward MTD § VIII. Here, however, the Hospital does not plausibly allege any such

benefit. Although the Hospital asserts, with no supporting facts, that it “conferred a benefit on

Defendants because Defendants should bear the expense of treating these patients’ opioid

conditions,” Compl. ¶ 1006, this conclusory and illogical assertion is insufficient under Iqbal and

Twombly. The Hospital’s view that Defendants should pay is not a benefit provided by the Plaintiff

to Defendants. Indeed, the Hospital fails to allege any direct transaction with the Manufacturer

Defendants in which a benefit was conferred, much less an unjust one, and any such benefit would

have been conferred on patients, and not the Manufacturer Defendants. See Allegheny Gen. Hosp.,

228 F.3d at 447. Therefore, the Hospital’s unjust enrichment claim should be dismissed.

XI.      ALL CLAIMS SHOULD BE DISMISSED, IN PART, AS TIME-BARRED.

         A.     The Applicable Statutes of Limitations Bar The Hospital’s Claims.

         The Hospital’s claims rely largely on alleged acts or omissions that occurred as far back as

the mid-1990s. See, e.g., Compl. ¶¶ 172, 239, 284. But each claim is subject to a statute of

limitations and the longest applicable limitations period is five years.8 Because Plaintiff’s claims

are “founded on fraud,” they accrued at “the time the facts giving rise to the cause of action were



8
       Fla. Stat. § 772.17 (five-year period applies to Florida RICO claim). The remaining claims
are subject to a four-year period. Agency Holding Corp. v. Malley-Duff & Assocs., Inc., 483 U.S.
143, 156 (1987) (federal RICO); Fla. Stat. § 95.11(3) (FDUTPA, nuisance, negligence, wanton
negligence, negligent marketing, negligent distribution, unjust enrichment, misleading advertising,
and breach of implied warranty claims).
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discovered or should have been discovered with the exercise of due diligence.” Fla. Stat. §

95.031(2)(a). To the extent any claims are not fraud-based, they accrued “when the last element

constituting the cause of action occur[red].” Id. § 95.031(1). Under either standard, at a minimum

the Court should dismiss the Hospital’s claims to the extent they depend on alleged fraud-based

conduct or any harm incurred before May 3, 2013—five years before the Hospital brought suit—

and certain claims have ever shorter limitations periods.

       Notwithstanding their labels, the Hospital’s claims are all premised on fraud-based conduct

alleged to have begun roughly 20 years ago, see Compl. ¶¶ 168-83, 239, 251, 282, 284, 343, 351,

360, 495, 499, 827, including publications, advertisements, and third-party materials allegedly

created and published before May 2013, e.g., id. at ¶¶ 192, 194, 203, 210, 218, 220, 224-25, 228,

230, 242, 254-55, 260-61, 263, 265-67, 269, 271, 276, 280, 293, 305, 352, 357, 361-62, 377-79,

399-400, 790-92. The Hospital cannot recover for any alleged injuries caused by this conduct, nor

can they rely on more recent conduct as a “bootstrap to recover for injuries” caused by that time-

barred conduct. Klehr v. A.O. Smith Corp., 521 U.S. 179, 183 (1997) (applying rule to RICO

claims). Even if its claims were not fraud-based, the Hospital still would not be able to recover

under Florida law for alleged misconduct that purportedly caused it to incur any expenses prior to

May 2013. The statutes of limitations thus preclude the vast majority, if not all, of the Hospital’s

allegations with respect to each Manufacturer Defendant.

       B.      No Exception to the Limitations Periods Applies.

       The Complaint cites three exceptions to the limitations period: fraudulent concealment,

equitable estoppel, and continuing violation. See Compl. ¶¶ 769-80. As in Summit and Broward,

none applies here.

               1.      Fraudulent Concealment and Equitable Estoppel Do Not Apply.

       Both the fraudulent concealment and equitable estoppel doctrines require affirmative

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conduct—apart from the underlying fraud—that constitutes “willful concealment of the cause of

action” (in the case of fraudulent concealment), or that induces the plaintiff to believe that

limitations would not be enforced (in the case of equitable estoppel). Raie v. Cheminova, Inc., 336

F.3d 1278, 1282 n.1 (11th Cir. 2003) (fraudulent concealment); Zainulabeddin v. Univ. of S. Fla.

Bd. of Trs., 2017 WL 5202998, at *11 (M.D. Fla. Apr. 19, 2017), reconsideration denied, 2017

WL 5202999 (M.D. Fla. May 3, 2017) (equitable estoppel). Plaintiff fails to plead facts sufficient

to support either exception. To the contrary, the Complaint confirms that the Hospital knew, or

reasonably should have known, of the alleged fraud long before May 3, 2013. Indeed, much of

the information relied upon by the Hospital in its Complaint was publicly available before 2013.

For example:

       •   Beginning in 2001, the FDA took public regulatory actions related to opioid
           medications, which the Hospital now claims show actionable misconduct on the part
           of the Manufacturer Defendants. See Compl. ¶¶ 90, 180, 251, 260, 276, 499(a), 785,
           787, and 790; and

       •   The Hospital relies upon articles related to opioids and opioid addiction that were
           published as early as 2001. See, e.g., id. ¶¶ 222, 263, 343, 395, and 488.

       The Hospital also necessarily knew of the alleged unreimbursed costs it spent for opioid-

related treatment more than five years ago. And the Hospital has not alleged—indeed, it cannot

allege—that any Manufacturer Defendant took affirmative steps to prevent the Hospital from

bringing its claims or to induce the Hospital into believing that limitations would not be enforced.

As a result, neither exception applies.

               2.      The Continuing Violation Doctrine Does Not Apply.

       “A continuing tort is ‘established by continual tortious acts, not by continual harmful

effects from an original, completed act.’” Suarez v. City of Tampa, 987 So. 2d 681, 686 (Fla. Dist.

Ct. App. 2008). Further, “[i]f an event or series of events should have alerted a reasonable person

to act to assert his or her rights at the time of the violation, the victim cannot later rely on the

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continuing violation doctrine[.]” Weinberg v. Alley, 2011 WL 1878129, at *2 (N.D. Fla. Mar. 17,

2011), report and recommendation approved sub nom. Weinberg v. Wakulla Cty. Bd. of Comm’rs,

2011 WL 1877832 (N.D. Fla. May 17, 2011).

         Just like the municipal plaintiffs in Summit and Broward, the Hospital alleges discrete acts

that were themselves potentially actionable: that is, different Defendants, making different

representations at distinct times to separate prescribers, who wrote different prescriptions that led

to discrete alleged harms to different patients, and to discrete medical services to treat those alleged

harms that, in some unidentified instances, went unreimbursed. See, e.g., Compl. ¶¶ 165-84, 186-

200, 202-08, 210-12, 215-20, 223-30, 233-35, 239-45, 249-59, 266-71, 274-84, 290, 295.9 This is

not a “continuing tort.” Moreover, the alleged public events for which the Hospital (a medical

center) has sued, including alleged public misrepresentations about the safety and efficacy of

opioids, should have alerted it to any claims it might have well before May 2013. Weinberg, 2011

WL 1878129, at *2; see also Compl. ¶¶ 90, 180, 247, 251, 260, 276, 499(a), 785, 787, and 790.

The continuing violation doctrine does not apply.

XII.     THE HOSPITAL’S REQUEST FOR PUNITIVE DAMAGES SHOULD BE
         STRICKEN.

         The Court should strike the Hospital’s request for punitive damages on its false advertising

and wanton negligence counts, see Compl. ¶¶ 921, 940, because the Complaint contains only

conclusory allegations plainly insufficient to justify such extraordinary relief. See Porter v.

Ogden, Newell & Welch, 241 F.3d 1334, 1341-42 (11th Cir. 2001) (plaintiff “must plead specific

acts committed by a defendant” to support punitive damages). Indeed, the punitive damages

allegations here—buried in a section on civil conspiracy—echo the same deficient allegations in



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       The Complaint also alleges that the Manufacturer Defendants used different channels to
make their representations to prescribers. See, e.g., Compl. ¶ 329.
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Broward nearly verbatim. Compare Compl. ¶¶ 781-811 with Broward 2AC ¶¶ 708-710, 712-740.

The Hospital’s punitive damages request fails for the same reasons.

                                       CONCLUSION

       For the foregoing reasons, the Complaint should be dismissed with prejudice.




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Dated: June 29, 2018               Respectfully submitted,

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                          LOCAL RULE 7.1(F) CERTIFICATION

       I certify that this case has been assigned to the “litigation track” pursuant to CMO One and

that this Memorandum adheres to the page limitations set forth in CMO One § 6(f), CMO Four at

2-3, and L.R. 7.1(f).

Dated: June 29 2018                          By: /s/ Steven A. Reed
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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 29, 2018, a copy of the foregoing Memorandum of Law in

Support of the Manufacturer Defendants’ Joint Motion to Dismiss Plaintiff’s Complaint was

filed electronically. Notice of this filing will be sent to all parties by operation of the Court’s

electronic filing system. Parties may access this filing through the Court’s system.


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